 

oebtor 1 Jamie A. Chanev
F|rst Name Mldd|e Name Lest Name

Debtor 2 Karen A. Chanev

(Spouse. lt lillng) Flrst Name Mlddle Name Lasl Name

Case number 19~10022

(lf known)

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Official Form 113
Chapter 13 Plan

To Debtors:

_ N rth ' ` l d_ |:| Check if this is an amended plan,
Unlted States Bankruptcy Courtforthe. 0 em D»smcicf n lana and list below the SeCtiOnS Of the

plan that have been changed

12/17

 

This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not

indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do

not comply with local rules and judicial rulings may not be confirmable.

ln the following notice to creditors, you must check each box that applies

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

You should read this plan carefully and discuss it With your attorney if you have one in this bankruptcy case. lf you do

not have an attorney, you may wish to consult one.

lf you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must tile an

objection to confirmation at least 7 days before the date set for the hearing on conhrmation, unless otherwise ordered

by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to

confirmation is filed. See Bankruptcy Rule 3015. |n addition, you may need to file a timely proof of claim in order to be

paid under any plan.

The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
includes each of the following items. lf an item is checked as "Not lncluded" or if both boxes are checked, the provision will

be ineffective if set out later in the plan.

 

 

 

 

 

 

 

1.1 A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial [E included ['_'] Not included
payment or no payment at all to the secured creditor

1.2 Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in m mcwde [§| Not mcmde
Section 3.4

1.3 Nonstandard provisions, set out in Part 8 E¢] lncluded m Not included

 

Plan Payments and Length of Plan

2.1

 

Debtor(s) will make regular payments to the trustee as follows:

§ 2,750.00 per lVlonth for 60 months
[and$ 0.00 per for months] lnsertadditional lines ifneeded.

lt fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to

creditors specified in this plan.

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Debfow Jamie A.chaney Casenumber 19-10022

2.2 Regular payments to the trustee will be made from future income in the following manner:
Check all that app/y.
L_.l Debtor(s) Will make payments pursuant to a payroll deduction order.
m Debtor(s) will make payments directly to the trustee.

Other(specify method ofpayment): TFS .

2-3 lncome tax refunds.
Check one.
m Debtor(s) will retain any income tax refunds received during the plan term.

l:] Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
return and will turn over to the trustee all income tax refunds received during the plan term.

Debtor(s) Will treat income tax refunds as follows:
The debtors will retain the first $500.00 of combined State and Federal tax refunds with any balance to be paid to the

Trustee for the benefit of creditors.
2.4 Additiona| payments.

Check one.
l:l None. /f ”None" is checked, the rest of § 2.4 need not be completed or reproduced.

Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source,
estimated amount, and date of each anticipated payment
Lawsuit proceeds

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $ 33,000.00 .

Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any.

 

Check one.
L__] None. /f “None" is checked, the rest of § 3.1 need not be completed or reproduced

The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any
changes required by the applicable contract and noticed in conformity with any applicable rules. These payments Will be
disbursed either by the trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim
will be paid in full through disbursements by the trustee, with interest, if any, at the rate stated. Un|ess othen/vise ordered
by the court, the amounts listed on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(0) control
over any contrary amounts listed below as to the current installment payment and arrearage. in the absence of a contrary
timely filed proof of claim, the amounts stated below are controlling. lf relief from the automatic stay is ordered as to any
item of collateral listed in this paragraphl then, unless otherwise ordered by the court, all payments under this paragraph
as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan. The
final column includes only payments disbursed by the trustee rather than by the debtor(s).

    

0.00 A)$ 0.00 $ 80,000.00

   

Resldential real estate ,
Disbursed by:
Trustee
l:l Debtor(s)

 

$ 0.00 $ 0.00 %$ 0.00 $ 0.00
Disbursed by:

Trustee

Debtor(s)

insert additional claims as needed.

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3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.
L_.l None. /f ”None" is checked, the rest of § 3.2 need not be completed or reproduced.

The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked

The debtor(s) request that the court determine the value of the secured claims listed below, For each non~governmental secured
claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of
secured c/aim. For secured claims of governmental units, unless othenNise ordered by the court, the value of a secured claim
listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each
listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part
5 of this plan. lf the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
treated in its entirety as an unsecured claim under Part 5 of this plan. Un|ess otherwise ordered by the court, the amount of the
creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph

The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
property interest of the debtor(s) or the estate(s) until the earlier of:

(a) payment of the underlying debt determined under nonbankruptcy law, or

(b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

 

Partners1stFCU $ 0.00 2011JeepLiberty $ 7,000.00 $ 0.00 $ 0.00 5.5%$ 0.00 $ 8,000.00

Paitners ist FCU $ 0.00 2006 Harley Dav... $ 4,000.00 $ 0.00 $ 0.00 5.5 %$ 0.00 $ 4,600.00

insert additional claims as needed

3.3 Secured claims excluded from 11 U.S.C. § 506.
Check one.

[:l None. lf “None" is checked, the rest of § 3.3 need not be completed or reproduced

The claims listed below were either:

(1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
acquired for the personal use of the debtor(s), or

(2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value,

These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
the trustee or directly by the debtor(s), as specified below. Unless othenNise ordered by the court, the claim amount stated on a
proof of claim filed before the filing deadline under Bankruptcy Rule 3002(0) controls over any contrary amount listed below. |n
the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. The final column includes only
payments disbursed by the trustee rather than by the debtor(s).

 

 

Disbursed by:
Trustee
m Debtor(s)

$ 0.00 % $ 0.00 $ 0.00

Disbursed by:
Trustee
l:l Debtor(s)

insert additional claims as needed

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Debtor 1

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3.4 Lien avoidance.

Check one.

El

None. if ”None” is checked, the rest of § 3.4 need not be completed or reproduced

The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked,

The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
which the debtor(s) would have been entitled under 11 U.S.C. § 522(b). Un|ess otherwise ordered by the court, a judicial lien or
security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the
order confirming the plan. The amount of the judicial lien or security interest that is avoided will be treated as an unsecured claim
in Part 5 to the extent allowed The amount, if any, of the judicial lien or security interest that is not avoided will be paid in full as
a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). if more than one lien is to be avoided
provide the information separately for each Iien.

 

Name of creditor

 

 

a. Amount of lien

6,000.00

Amount of secured claim after
avoidance (line a minus line f)

 

 

 

Purdue University b. Amount of all other liens 0.00 $ 0.00
Collateral c. Value of claimed exemptions 0.00 lnterest rate (if applicable)
%

Residential real estate d. Total of adding lines a, b, and c 0.00
Lien identification (such as e. Value of debtor(s)’ interest in Monthly payment on amount of
judgment date, date cf lien recording, property secured claim
book and page number) _ $ O_OO $ 0'00

f. Subtract line e from line d $ 0.00 Estimated total payments on

 

secured claim
$ 0.00

 

Extent of exemption impairment
(Check applicable box):
i:\ Line f is equal to or greater than line a.

The entire lien is avoided. (Do not complete the next column)

[:] Line f is less than line a.

 

 

A portion of the lien is avoided. (Complete the next column)

Insert additional claims as needed

3.5 Surrender of collateral.
Check one.

None. if ”None” is checked, the rest of § 3.5 need not be completed or reproduced

ij The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
request that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the
stay under § 1301 be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral Will
be treated in Part 5 below.

 

 

 

insert additional claims as needed

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m Treatment of Fees and Priority Claims

4.1 General

 

 

Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
postpetition interest.

4-2 Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be % of plan payments; and
during the plan terml they are estimated to total $ 0.00 .

4.3 Attorney’s fees

The balance of the fees owed to the attorney for the debtor(s) is estimated to be $ 3 000.00 .

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
Check one.

None. lf ”None" is checked, the rest of § 4.4 need not be completed or reproduced

l:l The debtor(s) estimate the total amount ofotherpriorityciaims to be 0.00 .

4.5 Priority claims other than attorney’s fees and those treated in § 4.5.
Check one.

i..__l None. if ”None” is checked, the rest of § 4.5 need not be completed or reproduced

The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
governmental unit and Will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision
requires that payments in § 2.1 be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).

 

indiana Dept. of Revenue $ 1,000.00

internal Revenue Service $ 5,000.00

insert additional claims as needed

m Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified

 

Ailowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. if more than one option is checked, the option
providing the largest payment will be effective Check all that apply.

l_'] The sum of § 0.00 .
[:| The sum of 0.00 % of the total amount of these claims, an estimated payment of $ 0.00 .
The funds remaining after disbursements have been made to ali other creditors provided for in this plan.

if the estate of the debtor(s) Were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately
$ 15 000.00 . Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least

this amount

 

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JAMIE A. & KAREN A. CHANEY ~ 19~10022
ADDITIONAL GOVERNMENT OBLIGATION

CREDITGR: AMOUNT OF
CLAIM

 

ALLEN COUNTY TREASURER $3,000.00

 

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Deblof 1 Jamie A. Chaney CaS€ number 19-10022

 

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.
None. if "None” is checked, the rest of § 5.2 need not be completed or reproduced

m The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims
listed below on which the last payment is due after the final plan payment. These payments will be disbursed either by the
trustee or directly by the debtor(s), as specified below. The claim for the arrearage amount will be paid in full as specified below
and disbursed by the trustee. The final column includes only payments disbursed by the trustee rather than by the debtor(s).

 

$ 0.00 $ 0.00 $ 0.00
Disbursed by:

Trustee
l:i Debtor(s)

$ 0.00 $ 0.00 $ 0.00
Disbursed by:
Trustee
i:l Debtor(s)

insert additional claims as needed

5'3 Other separately classified nonpriority unsecured claims. Check one.

None. if “lVone" is checked, the rest of § 5.3 need not be completed or reproduced

l:] The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows

 

$ 0.00 %$ 0.00

$ 0.00 %$ 0.00

insert additional claims as needed.

m Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified Aii other executory contracts
and unexpired leases are rejected. Check one.

ij None. if “None" is checked, the rest of § 3.1 need not be completed or reproduced

Assumed items. Current installment payments Will be disbursed either by the trustee or directly by the debtor(s), as specified
below, subject to any contrary court order or ruie. Arrearage payments will be disbursed by the trustee. The final column
includes only payments disbursed by the trustee rather than by the debtor(s).

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Debfof 1 Jamie A. Chaney Ca$e number 19~10022

 

 

 

Acceptance Now Rerrigeraior, washer &... $ 0.00 $ 0.00 $ 0.00

Disbursed by:
Trustee
i:] Debtor(s)

Progressive Leasing, LLC Furniture $ 0.00 $ 0.00 $ 0.00

Disbursed by:
Trustee
l:l Debtor(s)

insert additional contracts or leases as needed

Vesting of Property of the Estate

7.1 Property of the estate will vest in the debtor(s) upon
Check the applicable box:
l:i plan connrmation.
entry of discharge.
|:i other:

Nonstandard Plan Provisions

8.1 Check “None” or List Nonstandard Plan Provisions

m None. /f l‘None" is checked, the rest of Part 8 need not be completed or reproduced

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below, A nonstandard provision is a provision not otherwise
included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective

The following plan provisions will be effective only if there is a check in the box “included” in § 1.3.

Lawsuit proceeds will be payable to the Trustee for the benefit of creditors

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Exhibit: Total Amount of Estimated Trustee Payments

The following are the estimated payments that the plan requires the trustee to disburse lf there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

a. Maintenance and cure payments on secured claims (Part 3, Section 3.1 total) $ 80,000.00
b. Modified secured claims (Part 3, Section 3.2 total) $ 12,600.00
c. Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total) $ 35,000.00
d Judiciai liens or security interests partially avoided (Part 3, Section 3.4 total) $ 0.00
e. Fees and priority claims (Part 4 total) $ 6,000.00
f. Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount) $ 15,000.00
g. Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total) $ 0.00
h Separateiy classified unsecured claims (Part 5, Section 5.3 total) $ 0.00
i. Trustee payments on executor contracts and unexpired leases (Part 6, Section 6.1 total) $ 0.00
j. Nonstandard payments (Part 8 total) $ 0.00

Total of lines a throughj $ 148,600.00

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Deblof1 Jamie A. Chaney CaSe num er 19-10022

Signature(s):

9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney

 

if the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optionai. The attorney for the
Debtor(s), if any, must sign below,

X X
Signature of Debtor 1

 

Signature of Debtor 2

   
  
  

Executed on Executed on

lVll\ll/D D/YYYY

    

 

 

x //f ~» mate z el Q 2 V~K ?‘
Signature ofAttorney for ebk)r(s) Ml\il/DD/YYYY \~»

By filing this document, the Debt r(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Ch pter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8

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